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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                 Case No. 3:07mj173

ALEKSANDER V. BERMAN,

__________________________________/

                                          ORDER

       The above-named Defendant having appeared before the court, and having been examined
by the undersigned, and the court having determined from the sworn testimony of the Defendant that
said Defendant is qualified for appointment of counsel pursuant to the provisions of the Criminal
Justice Act, it is hereby ORDERED:
       The FEDERAL PUBLIC DEFENDER, Blount Building, Suite 200, 3 West Garden Street,
Pensacola, Florida 32502, telephone number (850) 432-1418, is appointed to represent this
Defendant and serve as counsel of record in the above-styled cause. Further proceedings will be
held before the United States District Court AS DIRECTED. The Defendant is presently (in
custody). If a Criminal Justice Act (CJA) panel attorney is selected by the Public Defender as
Defendant's attorney, this order authorizes payment of the CJA attorney for work on behalf of
Defendant from the time that attorney was contacted by the Public Defender to take the case and
agreed to take the case, even though that work predated this order.
       DONE and ORDERED this 22nd day of August 2007.


                                             /s/ Elizabeth M. Timothy
                                             ELIZABETH M. TIMOTHY
                                             UNITED STATES MAGISTRATE JUDGE
